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                                                                                 2020 Jan-13 PM 03:46
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

REBECCA ANNE PETERS,

               Plaintiff,

      v.                                              Case No. 2:17-cv-01274-KOB
EQUIFAX INFORMATION SERVICES, LLC,

               Defendant.


                            NOTICE OF SETTLEMENT

      Plaintiff Rebecca Anne Peters (“Plaintiff”) and Defendant Equifax

Information Services, LLC (“Defendant”) (collectively, the “Parties”), by and

through their respective counsel, hereby inform the Court as follows:

      1.       This case is one of several class actions brought in various

jurisdictions against Defendant alleging violations of the Fair Credit Reporting Act,

15 U.S.C. § 1681, et seq., regarding the reporting and disclosure of public record

information.

      2.       On April 12, 2019, a nationwide settlement was reached in the case of

Thomas v. Equifax Info. Servcs., LLC, No. 3:18-cv-00684-MHL (E.D. Va.).

      3.       The terms of the Thomas settlement embrace the class claims alleged

in this litigation, and thus resolve all class claims in this matter.

      4.       Judge M. Hannah Lauck of the Eastern District of Virginia granted
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final approval to the settlement and final judgment in Thomas on September 13,

2019. (Thomas ECF No. 55.)

      5.     No appeals were taken from Judge Lauck’s Order.

      6.     On October 4, 2019, the Parties stipulated to dismiss the claims

asserted in this action with prejudice to the extent Plaintiff purported to bring them

on a class wide basis. Doc. 45.

      7.     Negotiations to resolve Plaintiff’s individual claim have been

successful and have resulted in an agreement in principle. The Parties expect to

finalize the agreement and file a Stipulation of Dismissal by February 28, 2020.



DATED: January 13, 2020                       Respectfully submitted,

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                        CERTIFICATE OF SERVICE

      This is to certify that on this 1st day of November 2019, I served a copy of

the foregoing via CM/ECF filing, which will send notification to the following

counsel of record:

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